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                                   No. 6:20-cr-00038

                               United States of America
                                          v.
                                  Chris Alan Irby, Jr.

                                        ORDER

                Defendant’s unopposed motion to continue the trial, Doc.
            17, is granted. The new deadlines and court settings are as fol-
            lows:

            •   Deadline for pretrial motions (except Sept. 28, 2020
                motions for continuance):
            •   Deadline to file motion for continu-     Oct. 5, 2020
                ance or notify the court of a plea       at 12:00 p.m.
                agreement:
            •   Pretrial conference:                     Oct. 26, 2020
                                                         at 1:30 p.m.
            •   Jury selection and trial:                Nov. 2, 2020
                                                         at 9:30 a.m.

                A speedy trial is desirable, but “a myopic insistence upon
            expeditiousness in the face of a justifiable request for delay
            can render the right to defend with counsel an empty formal-
            ity.” Ungar v. Sarafite, 376 U.S. 575, 589 (1964). Considering the
            factors listed in 18 U.S.C. § 3161(h)(7), the ends of justice
            served by this continuance outweigh the interest of the public
            and the defendant in a speedy trial. In this case, defendant’s
            counsel reports that additional time is needed “to engage in
            the review, analysis, preparation, assimilation, and negotia-
            tion contemplated by the requirements of effective assistance
            of counsel under the Fifth and Sixth Amendments to the U.S.
            Constitution.” Doc. 17 at 3. In addition, the defendant’s
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            counsel needs additional time “to establish the sort of attor-
            ney-client relationship where communication and trust flow
            both ways.” Id. Failure to grant a continuance would create an
            appreciable likelihood of a miscarriage of justice by failing to
            give Irby and his newly appointed attorney enough time to
            prepare Irby’s case. This continuance will ensure counsel the
            reasonable time necessary for effective preparation, consider-
            ing due diligence. Therefore, the period of delay that will re-
            sult from this continuance is excludable under the Speedy
            Trial Act. See 18 U.S.C. § 3161(h)(7).
                                 So ordered by the court on August 14, 2020.



                                               J. C AMPBELL B ARKER
                                             United States District Judge
